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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


LULA WILLIAMS, et al.,
on behalf of herself and
all individuals similarly
situated,

         Plaintiffs,

v.                                                Civil Action No. 3:18-mc-12

BIG PICTURE LOANS, LLC,
et al.,

         Defendants.

                                   MEMORANDUM OPINION

         This matter is before the Court on Simon Xu Liang's AMENDED

MOTION        TO    QUASH     SUBPOENA   TO   SIMON   XU    LIANG    TO   TESTIFY   AT   A

DEPOSITION IN A CIVIL ACTION AND MEMORANDUM IN SUPPORT                         (ECF No.

3) . 1   For       the   following   reasons,      the     AMENDED   MOTION   TO    QUASH

SUBPOENA TO SIMON XU LIANG TO TESTIFY AT A DEPOSITION IN A CIVIL

ACTION AND MEMORANDUM IN SUPPORT                  (ECF No.    3) will be granted in

part and denied in part.

                                         BACKGROUND

         In Williams v. Big Picture Loans,                 LLC,   329 F. Supp. 3d 248

(E.D. Va. 2018),          2   the Court set out the basis for this litigation




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        This matter was transferred from the United States District
Court for the District of South Carolina.
     2 The published version of the Memorandum Opinion is Williams

v. Big Picture Loans, LLC, No. 3:17-cv-461, ECF No. 146, and it is
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and   the   efforts     of      the    two    corporate        defendants,         Ascension

Technologies, Inc.        ("Ascension") and Big Picture Loans, LLC ("Big

Picture     Loans")     (collectively         the      "Corporate        Defendants")        to

escape    the   reach     of    this   case      by    trying      to    come    within     the

sovereign immunity of the Lac Vieux Desert Band of Lake Superior

Chippewa Indians (the "Tribe").                  For the reasons set forth in the

Memorandum Opinion,          the Corporate Defendants'                  motion to dismiss

this case for lack of             jurisdiction under a              claim of sovereign

immunity was rejected.           That decision is pending before the United

States Court of Appeals for the Fourth Circuit.

      The plaintiffs'          Complaint against the Corporate Defendants

and Martorello alleges two violations of the federal Racketeering

Influenced Corrupt Organizations Act,                      18 U.S. C.     §§    1962 ( c)   and

1962(d), as well as violation of Virginia's usury laws,                              a claim

for unjust enrichment, and a plea for declaratory judgment.

      The facts that give rise to these claims are outlined in the

Memorandum Opinion,            Williams,     32 9     F.   Supp.    3d at       253-66.     As

explained in the Memorandum Opinion, the corporate structures here

are convoluted and somewhat difficult to follow.                                In sum,     the

Memorandum      Opinion      recites     a    structure        that      was    manipulated

principally for the purpose of affording Martorello and his related

entities the protection of tribal immunity while violating usury



a redacted version of the sealed and complete Memorandum Opinion
found at Williams, No. 3:17-cv-461, ECF No. 130.
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laws    when,        in   fact,     the     applicable      test      shows    that   neither

Ascension nor Big Picture Loans is an arm of the tribe, and that,

therefore,      neither are          entitled to          immunity.       The    fundamental

purpose of the corporate arrangements was to permit the defendants

to evade the usury laws of the states, including those of Virginia,

and to allow the making of consumer loans at rates approximating

699% per annum, with the overwhelming share of the yield of the

repayment       of    those       loans    going    to    Martorello      or    corporations

controlled by him and a very small portion going to the Tribe.

       After the Corporate Defendants appealed from the decision

denying them protections of sovereign immunity, the case was set

for    trial on the claims against Martorello.                          The case against

Martorello was set for trial to begin on March 18, 2019, but as

explained in the Memorandum Order entered on January 23,                                   2019,

Williams, No. 3:17-cv-461, ECF No. 323, the Corporate Defendants

thwarted the discovery efforts of the plaintiffs and Martorello to

adequately prepare for trial.                  It therefore became necessary to

continue the trial against Martorello generally, because, in part,

of the need to take the deposition of Simon Xu Liang and others

who    are   employed       by Ascension            but   were     formerly     employed      by

Bellicose       Capital,      LLC         ("Bellicose").         As    explained      in     the

Memorandum Opinion,           Bellicose was controlled by Martorello,                        but

Bellicose was acquired by the Tribe in 2015. Williams, 329 F. Supp.

3d at 259. Bellicose's assets were assigned to Ascension and its

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liabilities were          assigned to Big                Picture Loans,          and Bellicose

ceased     to   exist.      Id.    at    261.       This     restructuring          (which     saw

Ascension and Big          Picture Loans take on                   lending operations of

Bellicoise and another Martorello company) was part of a plan by

Martorello,       Ascension,       and    Big        Picture       to     clothe    a     lending

operation-which the United States District Court for the Southern

District of New York said could be regulated under New York's non-

discriminatory anti-usury laws-in the Tribe's sovereign immunity.

Id. at 257-259; see also Otoe-Missouria Tribe of Indians v. N.Y.

State Dep't of Fin. Servs., 974 F. Supp. 2d 353, 360-61 (S.D.N.Y.

2013); aff'd, 769 F.3d 105 (2d Cir. 2014).

     With that in mind,            and precluded from conducting discovery

against    the Corporate          Defendants because of                   their appeal,        the

plaintiffs       sought    to   obtain information                 from    farmer       Bellicose

employees       about    Bellicose       and       its    operations        as    well    as   the

transformation of Bellicose and affiliated entities into Ascension

and Big Picture Loans.             That evidence was intended to help them

prove their merits case against Martorello.                             Although Martorello

did not     initiate      the depositions                against    the    former       Bellicose

employees, he has said he needs information from the to aid in his

defense.

     Liang is the controller of Ascension and he was formerly an

employee    of    Bellicose.      He     is    a    part     owner of       Eventide Credit

Acquisitions, LLC ("Eventide") which provided the initial loan of

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$300M that was to fund the lending operations to be conducted by

Ascension and Big Picture Loans after Bellicose became what is now

Ascension and Big Picture Loans.

     The plaintiffs in Williams,          No.    3: 17-cv-461,    served Liang

with two subpoenas ad testificandum,             one under Federal Rule of

Civil Procedure 30(b) (1) and the other under Federal Rule of Civil

Procedure 45.     After the Corporate Defendants filed their appeal,

Liang's counsel and plaintiffs' counsel discussed the subpoenas,

and plaintiffs' counsel made clear that they planned to proceed

with a deposition of Liang under the Rule 45 subpoena.

     Liang,     who    is   represented by the      same   law    firm    as   the

Corporate Defendants, filed the AMENDED MOTION TO QUASH SUBPOENA

TO SIMON XU LIANG TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION AND

MEMORANDUM IN SUPPORT (ECF No. 3).              The plaintiffs responded to

that motion (ECF No. 7), and Liang replied (ECF No. 9). The parties

presented oral argument.

     After the AMENDED MOTION TO QUASH SUBPOENA TO SIMON XU LIANG

TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION AND MEMORANDUM IN

SUPPORT (ECF No. 3) was ripe, but before the Court had a hearing

on the motion, the Court decided the Corporate Defendants' motion

to stay in Williams. See No. 3:17-cv-461, ECF No. 323.                   Relevant

here, the Court confirmed that neither Matt Martorello (the third

defendant in the case) nor the plaintiffs could serve discovery

directly   on    the    Corporate   Defendants,     because      the   Corporate

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Defendants' appeal to the Fourth Circuit must be respected.                                           Id.

at 7,    9.        But,    the Court also held that the case against Matt

Martorello would not be stayed even though the trial had to be

moved     because         of    the     delayed         discovery          caused      by   expansive

assertions of sovereign immunity of which the assertion by Liang

is but a part.             Id.   at 6.           Thus,    discovery may proceed against

Matt Martorello,           because the Court is divested only "over [the]

aspects of the case involved in the appeal."                                 Id. at 8-9 (quoting

Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)).

                                             DISCUSSION

        A court must quash or modify a                         subpoena that "subjects a

person to undue burden" or that "requires disclosure of privileged

or     other       protected       matter."             Fed.       R.     Civ.    P.   45(d) (3) (A).

Additionally, the "party or attorney responsible for issuing and

serving        a    subpoena          must       take     reasonable              steps     to    avoid

imposing undue burden or                    expense      on    a        person     subject       to   the

subpoena."          Fed.   R.    Civ.       P.   45(c) (1).             The burden to establish

that a subpoena ad testificandum imposes an undue burden is on the

person opposing its command.                      See Singletary v. Sterling Transp.

Co.,    289 F.R.D. 237, 241                 (E.D. Va. 2012); Castle v. Jallah, 142

F.R.D.    618,      620    (E.D.      Va.    1992);      9A Fed.          Prac.    &   Proc.     Civ.   §


2463.1 (3d ed.).

        First, Liang argues that he should not have to testify while

the Corporate Defendants' appeal is pending because he shares the

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same immunity as the Tribe and thus cannot be deposed by third-

party       subpoenas. 3     The   Court   finds   this    argument     unpersuasive

insofar as it pertains to Liang's employment at Bellicose and in

his role as part owner of Eventide.                Liang has failed to provide

a single case in which a court has held that an officer of a tribal

entity is protected by his employer's sovereign immunity from being

questioned about           his   employment before working        for    the   tribal

entity.       Nor has the Court found any case that so holds.               Further,

although the Supreme Court has acknowledged that tribal immunity

may cover tribal employees and officials acting within the scope

of their employment so that they cannot be sued, see Michigan v.

Bay Mills Indian Cmty., 572 U.S. 782, 791 n.4                (2014), the Supreme

Court has also held that tribal employees may be sued in their

individual        capacity       for   torts   committed     by   the     individual

employee.        See Lewis v. Clarke, 137 S. Ct. 1285, 1288 (2017).                If

they can be sued in their individual capacity, surely they can be



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      Liang raises two other arguments for why he should not have
to testify, but, since the time of the filing of the motion to
quash, the Court has held that both are unpersuasive.    First, as
stated earlier, this Court has already held that it is only ~over
[the] aspects of the case involved in the appeal." Williams, No.
3:17-cv-461, ECF No. 323 at 8-9 (quoting Griggs, 459 U.S. at 58);
see also Alice L. v. Dusek, 492 F.3d 563, 564 (5th Cir. 2007) (per
curiam).
     Second, Liang argues that the subpoena subjects him to an
undue burden because whether the case against Matt Martorello
should be stayed was pending at the time the motion was filed.
That too was decided in a prior order, and the motion to stay was
denied. Williams, No. 3:17-cv-461, ECF No. 323 at 6-7.

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subpoenaed for depositions as individuals.            Thus, the Court holds

that Liang can be deposed about all activities in his role as an

officer or employee or shareholder of Bellicose and Eventide, the

operation of Bellicose, the reasons for Bellicose's sale to the

Tribe, and the structure of the Bellicose sale.

     But, whether Liang can be questioned about his employment at

Ascension must be left for another day.         Although the Court doubts

that Liang can altogether avoid testifying about his work at

Ascension even if the Fourth Circuit decides that the Corporate

Defendants     are   protected by    the   Tribe's    immunity,      the      Court

believes that prudence dictates that Liang should not be asked

about his role at Ascension during the pendency of the appeal.                      If

the Fourth Circuit affirms the decision rejecting the claim to

sovereign     immunity,   then    discovery   can    be   reopened      to    allow

inquiry.

     However, because of problems with discovery and delay caused

by dealing with broad claims of immunity from discovery interposed

by the Corporate Defendants, this case is now out of kilter.                       The

requested deposition is related to the merits of the claims against

Martorello.    And, it is correct that preserving testimony now would

be helpful to the plaintiffs.         However, there is pending a class

certification motion against Martorello that ought to be decided

first.      Therefore,    the    deposition   allowed     here   will        not    be

scheduled until after class certification is decided.

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                              CONCLUSION

     For the foregoing reasons and as set forth above, the AMENDED

MOTION TO QUASH    SUBPOENA TO    SIMON XU LIANG TO TESTIFY AT A

DEPOSITION IN A CIVIL ACTION AND MEMORANDUM IN SUPPORT (ECF No. 3)

will be granted in part and denied in part.

     It is so ORDERED.

                                                   /s/
                                 Robert E. Payne
                                 Senior United States District Judge

Richmond, Virginia
Date: February 8, 2019




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